      Case 1-17-46613-nhl               Doc 41-3         Filed 03/08/18     Entered 03/08/18 15:43:41




UNITED STATES BANKRUPTCY COURT
EASTERN DISCTIRCT OF NEW YORK
-------------------------------------------------------------X
In re:                                                                         Chapter 11

Bracha Cab Corp. et. al.,                                                      Case No. 17-46613-nhl
                                                                               Jointly Administered
                                       Debtors.
-------------------------------------------------------------X

                                                 Certificate of Service

I hereby certify that the within Debtor’s Reply and Exhibits have been served upon the parties
listed below in the manner stated herein on March 8, 2018.


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                                                                             /s/
                                                                          Jasmin Gomez
Sworn to before me this
8th day of March, 2018



  /s/
NOTARY PUBLIC
